Case 1:18-cv-00886-TSE-TCB Document 1 Filed 07/17/18 Page 1 of 10 PageID# 1



                    UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF VIRGINIA
                          ALEXANDRIA DIVISION


SANTOS BRUNO VEGA                             )
P.O. Box 2816                                 )
Harrisonburg, Virginia 22801,                 )
                                              )
                 Plaintiff                    )
                                              )
vs.                                           ) C.A. No.______________
                                              )
RODCO, LTD.                                   )
15704 Lee Highway                             )
Gainesville, Virginia 20155                   )
                                              )
  Serve:                                      )
Patricia A. Woodward                          )
31 South Second Street                        )
Warrenton, Virginia 20186,                    )
                                              )
MARK DONOVAN                                  )
15704 Lee Highway                             )
Gainesville, Virginia 20155,                  )
                                              )
DONNA DONOVAN                                 )
15704 Lee Highway                             )
Gainesville, Virginia 20155,                  )
                                              )
KYLE DONOVAN                                  )
15704 Lee Highway                             )
Gainesville, Virginia 20155,                  )
                                              )
                 Defendants.                  )

                                 COMPLAINT

      Plaintiff Santos Bruno Vega, by counsel, hereby complains and

alleges as follows:

                             I. NATURE OF CASE

      1.   This is an action brought under the Fair Labor Standards

Act ("FLSA"), 29 U.S.C. §201 et seq., by Santos Bruno Vega, against

Defendants RODCO, Ltd., Mark Donovan, Donna Donovan, and Kyle

Donovan for overtime violations of the FLSA.
Case 1:18-cv-00886-TSE-TCB Document 1 Filed 07/17/18 Page 2 of 10 PageID# 2



                        II. JURISDICTION AND VENUE

      2.    This Court has subject matter jurisdiction over the FLSA

claims under 28 U.S.C. §1331 and 28 U.S.C. §1337.

      3.    Venue is proper in this district and in this division by

virtue of 28 U.S.C. §1391(b) because, among other reasons, a

substantial part of the events or omissions giving rise to the

claims occurred in this district and in this division.               Plaintiff

has been employed by Defendants in Prince William County, Virginia,

in this division.
                             III. THE PARTIES

      4.    Plaintiff      Santos   Bruno      Vega   is     a   resident   of

Harrisonburg, Virginia. From in or about April 2016 and continuing

until the present, Plaintiff has been employed by Defendants,

working in Prince William County, Virginia.             Plaintiff worked in

the   restaurant    that    does    business    as    Blue   Ridge    Seafood.

Plaintiff’s duties included washing dishes, cleaning bathrooms,

making crab cakes, pies, coleslaw, and oysters, and prepping

potatoes.
      5.    Defendant RODCO, Ltd. is a corporation, organized under

the laws of Virginia, with its principal place of business in

Gainesville in Prince William County, Virginia.                  Defendant has

regularly conducted business activity in Prince William County,

Virginia. Defendant operates a seafood restaurant that sells crabs

and other seafood.      Defendant does business as Blue Ridge Seafood

and/or Blue Ridge Seafood Restaurant and/or Blue Ridge Crab &

Seafood Restaurant and/or Blue Ridge Crab & Seafood.


                                      2
Case 1:18-cv-00886-TSE-TCB Document 1 Filed 07/17/18 Page 3 of 10 PageID# 3



       6.     Defendant Mark Donovan is a significant owner of RODCO,

Ltd. Defendant owns RODCO, Ltd, with his wife and his in-laws.

Defendant performs management duties in the restaurant, including

managing the unloading of crabs and oysters, and helping manage

employees.     Defendant Mark Donovan is the father of Defendant Kyle

Donovan and the husband of Defendant Donna Donovan.

       7.    Defendant Donna Donovan is a significant owner of RODCO,

Ltd.   Defendant owns RODCO, Ltd, with her husband and her parents.

Defendant performs management duties in the restaurant.               Defendant
Donna Donovan is the mother of Defendant Kyle Donovan and the wife

of Defendant Mark Donovan.

       8.    Defendant Kyle Donovan is the manager of the restaurant

which does business as Blue Ridge Seafood and/or Blue Ridge Seafood

Restaurant and/or Blue Ridge Crab & Seafood Restaurant and/or Blue

Ridge Crab & Seafood.       Defendant performs management duties in the

restaurant.

                                    IV. FACTS

       9.     Defendant RODCO, Ltd. had annual gross volume of sales or
business done of $500,000 or more at all times relevant herein.

       10.    Defendant    RODCO,   Ltd.     was   an   enterprise   engaged   in

interstate commerce or in the production of goods for interstate

commerce at all times relevant herein.

       11.    Defendants    were    an   enterprise     engaged   in interstate

commerce or in the production of goods for interstate commerce at

all times relevant herein.




                                         3
Case 1:18-cv-00886-TSE-TCB Document 1 Filed 07/17/18 Page 4 of 10 PageID# 4



      12.    Defendants engaged in interstate commerce by such means

as regularly engaging in telephone calls with persons in other

states, regularly sending mail to and receiving mail from persons

in   other   states,   making   business   transactions    in    interstate

commerce,    and   purchasing   crabs   from   other   states,   including

Maryland and North Carolina.

      13.    Defendants were all employers of Plaintiff for purposes

of the FLSA.

      14.    Plaintiff was jointly employed by Defendants for purposes
of the FLSA at all times relevant herein.

      15.    Defendants Mark Donovan, Donna Donovan, and Kyle Donovan

all acted directly or indirectly in the interest of Defendant

RODCO, Ltd. in relation to Plaintiff for purposes of the FLSA.

      16.    Defendants Mark Donovan, Donna Donovan, and Kyle Donovan

all had operational control of significant aspects of the day-to-

day functions of RODCO, Ltd., including decisions on the hiring,

firing, and compensation of employees, at all times relevant

herein.
      17.    Defendants Mark Donovan, Donna Donovan, and Kyle Donovan

all exercised control over the work situation at RODCO, Ltd. at all

times relevant herein.

      18.    Defendants Mark Donovan, Donna Donovan, and Kyle Donovan

all had the power to hire and fire employees, had the power to

supervise and/or control employees' work schedules or conditions of

employment, had the power to determine the rate and method of




                                    4
Case 1:18-cv-00886-TSE-TCB Document 1 Filed 07/17/18 Page 5 of 10 PageID# 5



employee   compensation,    and   had   authority   over   maintenance   of

employment records.

     19.    Defendants Mark Donovan and Donna Donovan were both

involved in hiring Plaintiff to be an employee of RODCO, Ltd.,

after they were both in an interview with Plaintiff about possible

employment.

     20.   Plaintiff engaged in commerce across state lines in the

course of his employment with Defendants by, without limitation,

using goods manufactured in other states, helping prepare crab
products from crabs from other states, and engaging in telephone

calls across state lines.

     21.   Plaintiff regularly worked more than 40 hours a week for

Defendants.

     22.   Defendants and/or their agents required and/or suffered

or permitted Plaintiff to work overtime hours.

     23. Defendants scheduled Plaintiff to work more than 40 hours

a week for Defendants.

     24.   Defendants paid Plaintiff on an hourly basis.
     25.   Defendants paid Plaintiff $11 an hour in 2016 and $12 an

hour in 2017 and/or 2018.

     26.    Defendants rarely paid Plaintiff more than his base

hourly rate for overtime hours worked during his employment with

Defendants.

     27.   Defendants paid Plaintiff on an hourly basis, but did not

pay Plaintiff one and one-half times his regular rate of pay for




                                    5
Case 1:18-cv-00886-TSE-TCB Document 1 Filed 07/17/18 Page 6 of 10 PageID# 6



most of the hours worked over 40 during his employment with

Defendants.

     28.   Defendants attempted to avoid paying Plaintiff overtime

compensation required by law by paying Plaintiff under two names.

     29. Defendants paid Plaintiff both under his own name and

under the name of his wife, Beatriz Torres, for hours worked by

Plaintiff.

     30. Defendant Mark Donovan told Plaintiff that he would allow

Plaintiff to work more hours, if he would be paid for some of the
hours that he worked in his wife’s name.

     31.     Defendant Mark Donovan asked Plaintiff for his wife’s

social security number so that Defendants could pay Plaintiff in

his wife’s name.

     32.   Schedules of employee hours to be worked had Plaintiff’s

name on them, even when Plaintiff was paid for some of those hours

in his wife’s name.

     33.     Plaintiff had only one punch number for the electronic

time keeping system and recorded all of his hours of work using
that one punch number.

     34.     Plaintiff’s wife did not have a punch number for the

electronic time keeping system.

     35. Defendants knew that Plaintiff regularly was working more

than 40 hours a week without overtime compensation and/or without

being paid time and one-half his regular rate of pay for hours

worked over 40.




                                    6
Case 1:18-cv-00886-TSE-TCB Document 1 Filed 07/17/18 Page 7 of 10 PageID# 7



     36.   Plaintiff worked more than 40 hours a week and did not

receive proper overtime compensation in many workweeks during his

employment with Defendants.

     37.   For example, in the workweek from May 22, 2017 to May 28,

2017, Plaintiff was paid for 40 hours of work in his own name of

Santos B. Vega, and also paid for 22.90 hours of work in the name

of Beatriz A. Torres, all at the rate of $12.00 an hour.

     38.   As another example, in the workweek from May 15, 2017 to

May 21, 2017, Plaintiff was paid for 40 hours of work in his own
name of Santos B. Vega, and also paid for 21.89 hours of work in

the name of Beatriz A. Torres, all at the rate of $12.00 an hour.

     39.   As another example, in the workweek from February 20,

2017 to February 26, 2017, Plaintiff was paid for 40 hours of work

in his own name of Santos B. Vega, and also paid for 30.59 hours of

work in the name of Beatriz A. Torres, all at the rate of $12.00 an

hour.

     40.   As another example, in the workweek from February 13,

2017 to February 19, 2017, Plaintiff was paid for 40 hours of work
in his own name of Santos B. Vega, and also paid for 32.01 hours of

work in the name of Beatriz A. Torres, all at the rate of $12.00 an

hour.

     41.   Plaintiff received some overtime compensation in the pay

stubs in his own name for five workweeks beginning on April 18,

2016 and ending on May 15, 2016.        Plaintiff received a total of

$437.55 in overtime compensation for these five workweeks.




                                    7
Case 1:18-cv-00886-TSE-TCB Document 1 Filed 07/17/18 Page 8 of 10 PageID# 8



       42. Plaintiff began receiving part of his compensation in the

name of Beatriz A. Torres in the workweek from May 16, 2016 to May

22, 2016.

       43.   After that period, Plaintiff received only an extremely

small amount of overtime compensation in his own name.

       44.   Plaintiff received no further overtime compensation in

2016, after the workweek ending on May 15, 2016, in his own name.

       45.   Plaintiff received only $30.78 of overtime compensation

in his own name in 2017, through July 21, 2017.
       46.   Plaintiff received over $18,000 in compensation in the

name of Beatriz A. Torres in 2016 and 2017, with all but $8.42 of

that being for compensation at the straight time rate.

       47.   Defendants knew that it was unlawful to fail to pay

overtime compensation to an employee who was paid on an hourly

basis and who worked more than 40 hours a week.                Alternatively,

Defendants acted in reckless disregard of the law in not knowing

that such actions were unlawful.

       48.    Defendants knew that it was unlawful to fail to pay
overtime compensation to an employee by paying the employee for

some   of    his   hours   of   work   in   the   name   of   another   person.

Alternatively, Defendants acted in reckless disregard of the law in

not knowing that such actions were unlawful.

       49. Defendants failed to post in the workplace the poster

concerning rights under the FLSA required by the U.S. Department of

Labor under 29 C.F.R. §516.4, at least until very recently.




                                        8
Case 1:18-cv-00886-TSE-TCB Document 1 Filed 07/17/18 Page 9 of 10 PageID# 9



                            V. CLAIMS FOR RELIEF

                                 COUNT ONE
                  VIOLATION OF FLSA OVERTIME REQUIREMENTS

      50.   The allegations of the preceding paragraphs are here

realleged.

      51.   Defendants did not compensate Plaintiff at the proper

rate for all hours that Defendants required and/or "suffered or

permitted" Plaintiff to work for Defendants with the actual or

constructive knowledge of Defendants.
      52.   Defendants regularly and willfully required Plaintiff to

work in excess of 40 hours during a workweek and/or "suffered or

permitted" such overtime work.

      53.   Defendants did not pay Plaintiff one and one-half times

his FLSA regular rate of pay for all of the hours he worked in

excess of 40 in each workweek (i.e., Defendants did not pay

overtime compensation required by law for all overtime hours

worked).

      54.   Defendants regularly and willfully violated the FLSA by

not compensating Plaintiff at the proper rate for all hours he was
required and/or "suffered or permitted" to work for Defendants

and/or for not paying all overtime compensation due to Plaintiff.

      55.   By reason of the foregoing, Plaintiff has been damaged

and   is    due    unpaid   compensation   (including   unpaid    overtime

compensation), an amount equal to that unpaid compensation as

liquidated damages, and reasonable attorneys' fees and expenses,

and costs under 29 U.S.C. §216(b).



                                     9
Case 1:18-cv-00886-TSE-TCB Document 1 Filed 07/17/18 Page 10 of 10 PageID# 10



      WHEREFORE,    Plaintiff   demands    judgment   against   Defendants

RODCO, Ltd., Mark Donovan, Donna Donovan, and Kyle Donovan, jointly

and severally, for unpaid compensation (including unpaid overtime

compensation), in an amount to be determined at trial, an amount

equal to that unpaid compensation as liquidated damages, interest,

reasonable attorneys' fees and expenses, costs, and such other

relief as this Court considers proper.




                                   Respectfully submitted,
                                   Santos Bruno Vega
                                   By counsel:




                                   /s/ John J. Rigby

                                   John J. Rigby, #20116
                                   McInroy & Rigby, L.L.P.
                                   2111 Wilson Blvd., Suite 800
                                   Arlington, Virginia 22201
                                   (703) 841-1100
                                   (703) 841-1161 (fax)
                                   jrigby@mcinroyrigby.com




                                   Daniel P. Barrera, #32185
                                   The Barrera Law Firm, PLLC
                                   5845 Richmond Highway, Suite 620
                                   Alexandria, Virginia 22303
                                   (703) 955-4007
                                   (703) 663-9200 (fax)
                                   dbarrera@barreralawfirm.com




                                     10
